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 Name and address:
  Ian R. Feldman (State Bar No. 200308)
  CLAUSEN MILLER P.C.
  27285 Las Ramblas, Suite 200, Mission Viejo, CA 92691

  Culver V. Halliday (Admitted Pro Hac Vice)
  STOLL KEENON OGDEN PLLC
  Louisville, Kentucky 40202

                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
DEL OBISPO YOUTH BASEBALL, INC. d/b/a                             CASE NUMBER:

DANA POINT YOUTH BASEBALL                                                                8:21-cv-00199
                                                   PLAINTIFF(S)
                               v.

THE AMBASSADOR GROUP LLC, et al.
                                                                               NOTICE OF APPEARANCE OR
                                                                               WITHDRAWAL OF COUNSEL
                                                 DEFENDANT(S)

                                                      INSTRUCTIONS
Appearance of Counsel:
Attorneys may use this form to enter an appearance in a case, or to update the docket of a case to reflect a prior
appearance. To do so, complete Sections I, II, and IV of this form, then file and serve the form in the case. (Using an
attorney's CM/ECF login and password to file this form will expedite the addition of that attorney to the docket as counsel
of record.)
Withdrawal of Counsel:
This form may be used to terminate an attorney's status as counsel of record for a party in three situations: (1) the
attorney being terminated has already been relieved by the Court, but the docket does not yet reflect that fact; (2) at least
one member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member of the Bar of this Court representing that party; or (3) the represented party has been dismissed from the
case, but the attorneys are still receiving notices of electronic filing. For any of these situations, complete Sections I, III,
and IV of this form, then file and serve the form in the case.
Note: In situations not covered above, attorneys seeking to withdraw from a case must first obtain permission from the
Court. In such circumstances, attorneys should complete and file a "Request for Approval of Substitution or Withdrawal of
Counsel" (Form G-01) rather than this "Notice of Appearance or Withdrawal of Counsel" (Form G-123). See Form G-01 for
further information.
SECTION I - IDENTIFYING INFORMATION
Please complete the following information for the attorney you wish to add or remove (if removing an attorney, provide the
information as it currently appears on the docket; if appearing pro hac vice, enter "PHV" in the field for "CA Bar Number"):

Name: R. Mick Rubio                                                                CA Bar Number: 285588
Firm or agency:      CLAUSEN MILLER P.C.
Address: 27285 Las Ramblas, Suite 200, Mission Viejo, CA 92691

Telephone Number: 949-260-3100                                      Fax Number:      949-260-3190
Email: mrubio@clausen.com; mrubio@mpbf.com
Counsel of record for the following party or parties: Defendants The Ambassador Group LLC and Brandon M. White




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SECTION II - TO ADD AN ATTORNEY TO THE DOCKET
Please select one of the following options:
        The attorney listed above has already appeared as counsel of record in this case and should have been added to the
        docket. The date of the attorney's first appearance in this case:                           .
        The filing of this form constitutes the first appearance in this case of the attorney listed above. Other members of
        this attorney's firm or agency have previously appeared in the case.
        The filing of this form constitutes the first appearance in this case of the attorney listed above. No other members
        of this attorney's firm or agency have previously appeared in the case.
        By order of the court dated _____________________ in case number ________________________ (see attached
        copy), the attorney listed above may appear in this case without applying for admission to practice pro hac vice.
        This case was transferred to this district by the Judicial Panel on Multidistrict Litigation ("JPML") pursuant to 28
        U.S.C. § 1407 from the _______________ District of ____________________, where it was assigned case number
        ____________________. The attorney listed above is counsel of record in this case in the transferee district, and is
        permitted by the rules of the JPML to continue to represent his or her client in this district without applying for
        admission to practice pro hac vice and without the appointment of local counsel.
        On ______________________, the attorney listed above was granted permission to appear in this case pro hac vice
        before the Bankruptcy Court, and L.Bankr.R. 8 authorizes the continuation of that representation in this case before
        the District Court.
In addition, if this is a criminal case, please check the applicable box below. The attorney listed above is:
               USAO     FPDO        CJA Appointment          Pro Bono        Retained


SECTION III - TO REMOVE AN ATTORNEY FROM THE DOCKET
Notices of Electronic Filing will be terminated. Please select one of the following options:

        The attorney named above has already been relieved by the Court as counsel of record in this case and should
        have been removed from the docket. Date of the order relieving this attorney:                                .

        Please remove the attorney named above from the docket of this case; at least one member of the firm or agency
        named above, and at least one member of the Bar of this Court, will continue to serve as counsel of record for the
        party or parties indicated.
        (Note: if you are removing yourself from the docket of this case as a result of separating from a firm or agency, you
        should consult Local Rules 5-4.8.1 and 83-2.4 and Form G-06 (“Notice of Change of Attorney Business or Contact
        Information”), concerning your obligations to notify the Clerk and parties of changes in your business or contact
        information.)
        The represented party has been dismissed from the case, but the attorneys are still receiving notices of electronic
        filing. Date party was dismissed:                              .

        The attorney named above was appointed on appeal and the appeal has been adjudicated. Date the mandate was
        filed:                           .

SECTION IV - SIGNATURE

I request that the Clerk update the docket as indicated above.


      Date: October 29, 2021                           Signature: /s/ Ian R. Feldman

                                                       Name:        Ian R. Feldman


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 1                             CERTIFICATE OF SERVICE
 2        I am employed in the County of Orange, State of California. I am over the age
 3 of eighteen years and not a party to the within action; my business address is 27285 Las
   Ramblas, Suite 200, Mission Viejo, CA 92691.
 4
 5        On October 29, 2021, I served the document(s) described below on all interested
   parties, as follows:
 6
 7                    NOTICE OF WITHDRAWAL OF COUNSEL
 8
 9        [X] BY CM/ECF: I caused such document(s) to be served electronically
   pursuant to the U.S. District Court’s Electronic Case Filing Program to be delivered
10 electronically to those parties who have registered to become an E-Filer.
11
          I declare under penalty of perjury under the laws of the United States of America
12 that the foregoing is true and correct and that this Certificate of Service was executed
13 by me on October 29, 2021 in Mission Viejo, California.
14
                                                /s/ Natalie B. Guzman
15                                                Natalie B. Guzman
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                                                                     CERTIFICATE OF SERVICE
                                                                               8:21-CV-00199
